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AO 245D(Rev. 11/16) Judgment in a Criminal Case for Revocations

                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                                  District of Nebraska

               UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                             (For Revocation of Probation or Supervised Release)
                                    v.
                                                                             Case Number: 4:12CR3114-001
                                                                             USM Number: 25425-047

                    WILLIAM WHITEHOUSE                                       Jessica L. Milburn
                                                                             Defendant’s Attorney



THE DEFENDANT:
☒ admitted guilt to violation of Standard Condition #7 of the term of supervision with the exception of testing positive for
amphetamine and methamphetamine on 11/19/2017 which was stricken from allegation 1.
☐ was found in violation of condition after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number                         Nature of Violation                                                    Violation Ended
1                                        The defendant shall refrain from excessive use of alcohol and          March 25, 2017
                                         shall not purchase, possess, use, distribute, or administer any
                                         controlled substance or any paraphernalia related to any
                                         controlled substances, except as prescribed by a physician.

        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☒ The petition #136 and the second petition #162 are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                           February 15, 2018
                                                                           Date of Imposition of Sentence:


                                                                                s/ Richard G. Kopf
                                                                                Senior United States District Judge

                                                                                February 15, 2018
                                                                                Date
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                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of twenty (20) months.

☐The Court makes the following recommendations to the Bureau of Prisons:

☒The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
          ☐ at
          ☐ as notified by the United States Marshal.
☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                           ________________________________________
                                                                                  UNITED STATES MARSHAL

                                                                           BY: ___________________________________
                                                                                 DEPUTY UNITED STATES MARSHAL
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                                                          SUPERVISED RELEASE

No term of supervised release is imposed.

                                                  CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set
forth in this judgment.

                          Assessment                              JVTA Assessment*        Fine             Restitution

TOTALS                    $100 ($75 due)

☐ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be
  entered after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
   3664(i), all nonfederal victims must be paid before the United States is paid.

      Name of Payee                       Total Loss**                        Restitution Ordered               Priority or Percentage



Totals


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
  full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
  on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☐ the interest requirement is waived for the ☐ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                                       SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ☒ Lump sum payment of $100 ($75 balance due and payable)
       ☐      not later than _____, or
       ☒      in accordance with       ☐ C, ☐ D, ☐ E, or ☒ F below; or

B    ☐ Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

C    ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or
       years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D    ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or
       years), to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ☒ Special instructions regarding the payment of criminal monetary penalties:

          Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy the criminal
          monetary penalty in the following manner: (a) monthly installments of $100 or 3% of the defendant’s gross income,
          whichever is greater; (b) the first payment shall commence 30 days following the defendant’s discharge from incarceration,
          and continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing proof
          of payment to the probation officer as directed.

          The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay said sum
          immediately if he or she has the capacity to do so. The United States may institute civil collection proceedings at any time to
          satisfy all or any portion of the criminal monetary penalty.

          All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S. 18th Plaza, Suite 1152, Omaha,
          NE 68102-1322.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.


          ☐         The defendant shall pay the cost of prosecution.

☐         The defendant shall pay the following court cost(s): _____

☐         The defendant shall forfeit the defendant’s interest in the following property to the United States:
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CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a document which was electronically filed with the United States
District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
